\^
   ft     Fill in this information to identify your case:                                                                                                            ^s
                                                                                                                                                                          s

                                                                                                                                                                           :3C
                                                                                                                                                                           <£:

          Debtor 1                                                                                                                                                        ^
                                                                                                                                                                     0 lr°i
                                                                                                                                                                     CO!--
          Debtor 2                                                                                                                                                   LOO
          (Spouse, if filing) FlratName                                                                                                                              3C3

         .
          United States Bankruptcy Court for the: District of Arizona                                                                                                §§
                                                                                                                                                                    ri^
          Case number         ».. k6-hL-m-EPl\
                             (Ifknown)
                                                                                                                                                                                         a Check if this is an
                                                                                                                                                                                            amended filing



        Official Form 106Sum
        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                        12/15

        Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
        information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
        your original forms, you must fill out a new Summary and check the box at the top of this page.


        Part 1:         Summarize Your Assets


                                                                                                                                                                                     Your assets
                                                                                                                                                                                     Value of what you own
        1. Schedule A/B: Property (Official Form 106A/B)
             1a.Copyline55,Totalrealestate,from ScheduleA/B.......................................................................................................... ^

             ib.Copyline 62, Total personal property, from Schedule A/B...............................................................................................                   $ 0<''((OL)0;CJI

             1c.   Copy line 63,    Total of all property on Sc/?edufe A®.........................................................................................................
                                                                                                                                                                                         g>4i ^i]^ vU

        Part 2:        Summarize Your Liabilities



                                                                                                                                                                                     Your liabilities
                                                                                                                                                                                     Amount you owe
        2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)                                                                                                    f^ /r^\-t,
             2a. Copy the total you listed in Column A, Amount ofclaim, at the bottom ofthe last page of Part 1 ofSchedule D............                                                 $ I^»*U/U^>

        3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
             3a. Copy the total claims from Part 1 (priority, unsecured claims) from line 6e of Schedule E/F.

             3b.Copythetotal claimsfrom Part2 (nonpridrityunsecured claims)from line6j of ScheduleE/F.


                                                                                                                                                          Yourtotal liabilities         $ (Vc^

        Part 3:        Summarize Your Income and Expenses


        4. Schedule I: Your Income (Official Form 1061)
             Copyyourcombined monthly income from line 12ofScftecfu/e/..................................................,....................................... ^
        5. Schedule J: Your Expenses (Official Form 106J)
             Copy your monthly expenses from line 22c of Schedule J .................................................................................................... $




                     Case 2:18-bk-11751-EPB
        Official Form 106Sum                   Doc
                                       Summary of Your21
                                                       AssetsFiled  10/12/18
                                                              and Liabilities       Entered
                                                                              and Certain         10/15/18
                                                                                          Statistical           11:22:23
                                                                                                      Information                                                                            Desc
                                                                                                                                                                                             page 1 of 2
                                                Main Document               Page 1 of 45
   Debtor1       ^\CJQI(^ , S^W^ \^lU(V^
                  :iret Name .   Mkidle Name . "     Last Name
                                                                                                       Case number (ifknow    \i 'b -\H5\-(

    Part 4:    Answer These Questions for Administrative and Statistical Records

    6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       Q No.You have nothingto report on thispartoftheform. Check this boxandsubmitthisform to the court with yourotherschedules.
      ^Yes
    7. What kind of debt do you have?

          rv<
           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose. " 11 U. S. C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U. S. C. § 159.

       Q Yourdebtsarenot primarilyconsumerdebts.Youhavenothingto reportonthispartoftheform.Checkthisboxandsubmit
           this form to the court with your other schedules.



    8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




    9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               s      a-
       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     » ^
       9d. Student loans. (Copy line 6f.)                                                                      ^\\^
       9e. Obligations arising out of a separation agreement or divorce that you did not report as             $
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)               +$


       9g. Total. Add lines 9a through 9f.                                                                     $v  dy &




              Case
Official Form 10SSum   2:18-bk-11751-EPB
                        Summary of Your Assets and Doc     21 andFiled
                                                   Liabilities    Certain10/12/18         Entered 10/15/18 11:22:23
                                                                          Statistical Information                                        Desc
                                                                                                                                         page 2 of 2
                                                   Main Document                Page 2 of 45
Fill in this information to identify your case and this filing:


Debtor1              tsUCJPH^               SiMtM^r _\U^
                     iretName" .            ".   "   Middle Name

Debtor 2
(Spouse, if filing) First Name                       Middle Name

United StatesBankruptcy Courtforthe: District of Arizona
Case number , .                    " U           \     TiJ\        ~ \-
                                                                                                                                                        1-1 Check ifthis is an
                                                                                                                                                           amended filing

Official Form 106A/B
Schedule A/ :                                          ope                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheetto this form. On the top of anyadditional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2.
    1-1 Yes. Where is the property?
                                                                             What is the property? Checkall thatapply.
                                                                                                                               Do not deduct secured claims or exemptions. Put
                                                                             Q Single-family home                              the amount of any secured claims on Schedule D:
      1. 1.                                                                  Q Duplexor multi-unit building                    CreditorsWhoHave Claims Securedby Property.
              Street address, if available, or other description
                                                                             Q Condominium or cooperative                      Current value of the       Current value of the
                                                                             Q Manufacturedor mobile home                      entire property?           portion you own?
                                                                             Q Land                                            $               $
                                                                             Q Investment property
                                                                             Q Timeshare                                       Describe the nature of your ownership
              City                             State          ZIP Code
                                                                                                                               interest (such as fee simple, tenancy by
                                                                             Q Other
                                                                                                                               the entireties, or a life estate), if known.
                                                                             Who has an interest in the property? Check one.
                                                                             Q Debtor 1 only
              County                                                         Q Debtor2 only
                                                                             Q Debtor 1 and Debtor 2 only                      Q Check ifthis is community property
                                                                                                                                   (see instructions)
                                                                             Q At leastoneofthedebtorsandanother
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
   If you own or have more than one, list here:
                                                                            What is the property? Checkall thatapply.
                                                                                                                               Do not deduct secured claims or exemptions. Put
                                                                            Q Single-family home                               the amount of any secured claims on Schedule D:
     1.2.                                                                   Q Duplexormulti-unitbuilding                       CreditorsWhoHave ClaimsSecuredby Property.
              Street address, if available, or other description
                                                                            Q Condominium or cooperative                       Current value of the       Current value of th®
                                                                            Q Manufactured or mobile home                      entire property?           portion you own?
                                                                            D Land                                             $               $
                                                                            Q Investment property
                                                                            Q Timeshare                                        Describe the nature of your ownership
              City                            State         ZIP Code                                                           interest (such as fee simple, tenancy by
                                                                            1-1 Other                                          the entireties, or a life estate), if known.
                                                                            Who has an interest in the property? Checkone.
                                                                            Q Debtor 1 only
              County                                                        Q Debtor2 only
                                                                            Q Debtor 1 and Debtor 2 only                       Q Check ifthis is community property
                                                                            Q At leastone ofthe debtors and another               (see instructions)

                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:


               Case 2:18-bk-11751-EPB
Official Form 106A/B                                                      DocSchedule
                                                                               21 Filed     10/12/18 Entered 10/15/18 11:22:23
                                                                                      A/B: Property                                                         Desc
                                                                                                                                                               page 1
                                                                          Main Document             Page 3 of 45
 Debtor 1            jll^CAjiL^jklt^
                     First Name   MldaTeWamS   '
                                                        VtSUyC ^AS
                                                       Last Name
                                                                                                                                      (-"


                                                                   What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                   a Single-family home                              the amount of any secured claims on Schedule D:
     1. 3.                                                                                                           Creditors Who Have Claims Secured by Property.
                                                        :ription
             Street address, if available, or other description    Q Duplex or multi-unit building
                                                                   a Condominium or cooperative                      Current value of the      Current value of the
                                                                   a Manufactured or mobile home                     entire property?          portion you own?
                                                                   a Land                                            $                         $
                                                                   a Investment property
             City                         State     ZIPCode Q           Timeshare                                    Describe the nature of your ownership
                                                                                                                     interest (such as fee simple, tenancy by
                                                                   a    Other
                                                                                                                     the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                   Q Debtor 1 only
             County
                                                                   Q Debtor2 only
                                                                   1-1 Debtor 1 and Debtor 2 only                    Q Check ifthis is community property
                                                                   Q At leastone ofthe debtorsand another                (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here.




Part 2:       Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someoneelsedrives. If you lease a vehicle, also report it on Schedule G: Executory Contractsand Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   1-1 No
      'Yes

   3. 1.     Make:                    l-V^jiAd^                    Who has an interest in the property? Check one.   Do not deductsecured claims or exemptions. Put
                                                                                                                     the amount of any secured claims on Schedule D:
             Model:                      iJ^ffl?J^                     Debtor 1 only
                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                   Q Debtor2 only
             Year:                    (ML                          Q Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
             Approximate mileage: nA^llt>                                                                            entire property?          portion you own?
                                                                   Q At least one ofthe debtors and another
             Other information:
                                                                   Q Check if this is community property (see            ^}                         ^
                                                                       instructions)



   If you own or have more than one, describe here:

   3. 2.     Make:                                                 Who has an interest in the property? Checkone.    Do not deduct secured claims or exemptions. Put
                                                                                                                     the amount of any secured claims on Schedule D:
             Model:                                                Q Debtor 1 only                                   CreditorsWhoHave Claims Securedby Property.
                                                                   Q Debtor2 only
             Year:                                                                                                   Current value of the      Current value of the
                                                                   Q Debtor 1 and Debtor 2 only
             Approximate mileage:                                                                                    entire property?          portion you own?
                                                                   Q At leastone ofthe debtors and another
             Other information:
                                                                   Q Check if this is community property (see
                                                                       instructions)




           Case
Official Form      2:18-bk-11751-EPB
              106A/B                                         DocSchedule
                                                                 21 Filed      10/12/18 Entered 10/15/18 11:22:23
                                                                         A/B: Property
                                                                                                                                                   Desc
                                                                                                                                                      page 2
                                                             Main Document             Page 4 of 45
 Debtor 1                   1-                                   JAMIS                              Casenumberw - ^ \<6 -^ -\\"\^                    \ -<T^b


    3. 3.      Make:                                          Who has an interest in the property? Checkone.         Do not deduct secured claims or exemptions. Put
                                                                                                                     the amount of any secured claims on Schedule D:
               Model:                                         Q Debtor 1 only                                        CreditorsWhoHave Claims Secured by Property.
                                                              1-1 Debtor2 only
               Year:                                                                                                 Current value of the      Current value of the
                                                              Q Debtor1 and Debtor2 only
               Approximate mileage:                                                                                  entire property?          portion you own?
                                                              1-1At leastoneofthedebtorsandanother
               Other information:
                                                               Q Check if this is community property (see
                                                                  instructions)


    3.4.       Make:                                          Who has an interest in the property? Check one.        Do not deductsecuredclaims or exemptions. Put
                                                                                                                     the amount of any secured claims on Schedule D:
               Model:                                         Q Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                                              Q Debtor2 only
               Year:                                                                                                 Current value of the      Current value of the
                                                              Q Debtor 1 and Debtor2 only
               Approximate mileage:                                                                                  entire property?          portion you own?
                                                              Q At least one of the debtors and another
               Other information:
                                                               Q Check if this is community property (see
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
                »s: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
   a Yes

    4.1     Make:                                             Who has an interest in the property? Checkone.        QOnotdeductsecured claimsorexemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
            Model:                                            Q Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                              Q Debtor2 only
            Year:
                                                              Q Debtor 1 and Debtor2 only                           Current value of the      Current value of the
            Other information:                                Q At least one of the debtors and another             entire property?          portion you own?

                                                              Q Checkifthisiscommunityproperty(see
                                                                 instructions)



   If you own or have more than one, list here:

    4. 2.   Make:                                             Who has an interest in the property? Check one.       Do not deductsecured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
            Model:                                            Q Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                              Q Debtor2 only
            Year:                                                                                                   Current value of the      Current value of the
                                                              1-1 Debtor 1 and Debtor2 only
            Other information:
                                                                                                                    entire property?          portion you own?
                                                              Q At least one ofthe debtors and another

                                                              Q Check if this is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                0
   you have attached for Part 2. Write that number here




           Case
Official Form      2:18-bk-11751-EPB
              106A/B                                      DocSchedule
                                                              21 Filed      10/12/18 Entered 10/15/18 11:22:23
                                                                      A/B: Property
                                                                                                                                                Desc
                                                                                                                                                   page 3
                                                          Main Document             Page 5 of 45
 Debtor1 ^\ '       First Name
                                      5 O^Mi^
                                           iddle Name
                                                                             UJLl(^
                                                                      Last Name
                                                                                                                                           Casenumber.^^ ^\0\L                                - ,^1-^(3

Part 3:        Describe Your Personal and Household Items


Doyouownorhaveanylegalorequitableinterestinanyofthefollowingitems?                                                                                                                           ^rt'i^it^u^w>^he
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   a No

 ^Yes.Describe.........                                                                 \. ^J? -                               Z.                                                             $ 6^^
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   a No
         <es. Describe.......... ,                                                                                                                                                            $      '        idJC)
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      No
   Q Yes.Describe..........                                                                                                                                                         ^
9. Equipmentfor sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   ^No
-^Q Yes. Describe.

10.Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment


        Yes. Describe..........                                                                                                                                                  $
11.Clothes
   Examples: Everyday clothes, furs, leather coats, designerwear, shoes, accessones
   a. No
        Yes.Describe..........                                                                                                                                                                $     60(^(i[\

12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
        No
   a Yes. Describe..........                                                                                                                                                            $
13. Non-farm animals
   Examples: Dogs, cats, birds, horses
        No
   Q Yes. Describe..........                                                                                                                                                     $

14 Any^rther personal and household items you did not already list, including any health aids you did not list

        No
   a Yes. Give specific
       information.

15.Addthe dollar value ofall ofyour entries from Part 3, including anyentries for pages you have attached                                                                                    ^       /5Df) /
  for Part 3. Write that number here.................................................................................................................................................... ^


             Case 2:18-bk-11751-EPB
Official Form 106A/B
                                                                             DocSchedule
                                                                                 21 Filed      10/12/18 Entered 10/15/18 11:22:23
                                                                                         A/B: Property
                                                                                                                                                                                                    Desc
                                                                                                                                                                                                       page 4
                                                                             Main Document           Page 6 of 45
 Debton         VMjQ^L ,S^»f1M^ \^\UUl^
                 FratName        MrddliTMame .          iestKama
                                                                                                     Case number y known
                                                                                                                               .




                                                                                                                                   ^   - ra-pC)

Part 4:     Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                            Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured claims
                                                                                                                                       or exemptions.


16.Cash
   Examples:Money you have in your wallet, in your home, in a safedepositbox, and on handwhen you file your petition

 ^EfNo
   a Yes.                                                                                                              Cash:
                                                                                                                                               ^
17. Deposits of money
   Examples: Checking, savings, or otherfinancialaccounts; certificatesof deposit; shares in creditunions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.
   a, No
      Yes.....................                                     Institution name:


                                 17.1. Checking account:                                  ^ss                                               ~'s
                                 17. 2. Checking account:

                                 17.3. Savings account:

                                 17.4. Savingsaccount:

                                 17. 5. Certificates of deposit:

                                 17. 6. Other financial account:

                                 17. 7. Other financial account:

                                 17. 8. Other financial account:

                                 17. 9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    r No
  /Q Yes.                        Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, andjoint venture

      No                         Name of entity:                                                                   % of ownership:
   Q Yes. Give specific
      information about
      them.........................                                                                                       %




           Case 2:18-bk-11751-EPB
Official Form 106A/B
                                                               DocSchedule
                                                                    21 Filed     10/12/18 Entered 10/15/18 11:22:23
                                                                           A/B: Property
                                                                                                                                              Desc
                                                                                                                                                pages
                                                               Main Document             Page 7 of 45
 Debtor 1            \\?!0^
                       : Name
                                                                                                  Casenumber o>»)9-\ \^ \LT \ \ '^\     -\J. (){b


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

        No
 ^ Q Yes.Givespecific                Issuer name:
        information about
        them.




21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA,Keogh, 401(k), 403(b), thriftsavings accounts, or other pension or profit-sharing plans
  ^dNo
   a Yes. Listeach
        account separately.          Type of account:          Institution name:

                                     401(k) or similar plan:                                                         $

                                     Pension plan:                                                                   $

                                     IRA:                                                                            $
                                     Retirement account:                                                                $

                                     Keogh:                                                                            $

                                     Additional account:                                                             $

                                     Additional account:                                                             $



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

  ^No
   a Yes.                                                 Institution name or individual:

                                     Electric:

                                     Gas:

                                     Heatingoil:
                                     Security deposit on rental unit:

                                     Prepaid rent:
                                                                                                                               $
                                     Telephone:
                                                                                                                               $
                                     Water:
                                                                                                                               $
                                     Rented furniture:
                                                                                                                               $
                                     Other:
                                                                                                                               $



23.Annuities (A contractfor a
23.,                                  periodicpaymentof moneyto you, eitherfor life or for a numberofyears)
        No
        N

   Q Yes..........................   Issuer name and description:




             Case 2:18-bk-11751-EPB
Official Form 106A/B
                                                                 DocSchedule
                                                                     21 Filed      10/12/18 Entered 10/15/18 11:22:23
                                                                             A/B: Property
                                                                                                                                   Desc
                                                                                                                                      page 6
                                                                 Main Document            Page 8 of 45
 Debtor 1                                          ^lJ4P<NH                                     Casenumber,. ^, ^- cb -B^-l rl51 ' 3

24.Interests in an education IRA, in an account in a qualifiedABLEprogram, or undera qualifiedstate tuition program.
   26 y,S. C. §§ 530(b)(1), 529A(b), and 529(b)(1).
  /3No
                                    Institution nameand description. Separatelyfile the recordsofany interests. 11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit


    Q Yes. Give specific
       information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
 /dNo
    1-1 Yes. Givespecific
       information about them....



27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
   Q Yes. Give spedfic
       information about them....


Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28.Tax refunds owed to you
       No
   Q Yes. Give specific information                                                                           Federal:              $
            about them, including whether
            you already filed the returns                                                                     State:                $
            and the tax years.
                                                                                                              Local:                $



29. Family support
   Examples: Pastdue or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
   Q Yes. Givespecific information.
                                                                                                             Alimony:                   $
                                                                                                             Maintenance:               $
                                                                                                             Support:                   $
                                                                                                             Divorce settlement:        $

                                                                                                             Property settlement:       $

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else

 ^-1No
   Q Yes. Give specific information.


            Case 2:18-bk-11751-EPB
Official Form 106A/B
                                                      DocSchedule
                                                           21 Filed      10/12/18 Entered 10/15/18 11:22:23
                                                                  A/B: Property
                                                                                                                                             Desc
                                                                                                                                                page?
                                                      Main Document             Page 9 of 45
 Debton              Mtai^, _^^ALj4 ^U { I^AS
                     FiihMame             MkldleName                   Last
                                                                                                                                                                           '. I 0      L>tL^ I I     ICJk    I   ->




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   ^ No
/ a Yes.Nametheinsurancecompany companyname:                                                                                                   Beneficiary:                                      Surrender or refund value:
                 of each policy and list its value....
                                                                                                                                                                                                 $

                                                                                                                                                                                                 $

                                                                                                                                                                                                 $

32. Any interest in property that is due you from someone who has died
   If you are the beneficiaryof a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
         irty because someone has died.
         No
   Q Yes. Give specific information.


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
 ^ No
   Q Yes. Describe each claim.

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to %et off claims
         No
   Q Yes. Describeeachclaim.



35. Any financial assets you did not already list

 ^No
   Q Yes. Givespecificinformation.


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here.................................................................................................................................................... ^




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

               or have any legal or equitable interest in any business-related property?
37. Do you own or
        No.
         ). Go to Part 6.
   a Yes. Goto line38.
                                                                                                                                                                                              Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions.

38.Accounts receivable or commissions you already earned
        No
   Q Yes. Describe.......

39. Office equipment, furnishings, and supplies
   Exaryples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
   a Yes. Describe.......


              Case 2:18-bk-11751-EPB
Official Form106A/B
                                                                              DocSchedule
                                                                                  21 Filed      10/12/18 Entered 10/15/18 11:22:23
                                                                                          A/B: Property
                                                                                                                                                                                                      Desc
                                                                                                                                                                                                            page8
                                                                              Main Document           Page 10 of 45
 Debtor 1               a^> ^i^vv VA^LLI^
                     ; Name ~   " - ' Mkfdte Nahfe'"   Last Name
                                                                                                             ^\&-^\n6\^
                                                                                          Case number (VknowQ_




40. Macj>mery, fixtures, equipment, supplies you use in business, and tools of your trade

        No
    Q Yes. Describe.......



41. lnyfentory
 ,9No
   a Yes. Describe.......


42. 1ntej*sts in partnerships or joint ventures
        No
  ra Yes.Describe....... Nameofentity:                                                                    % of ownership:

                                                                                                                 _% $
                                                                                                                 .
                                                                                                                  % $
                                                                                                                 _% $


43.Customer lists, mailing lists, or other compilations
      No
   Q Yes. Do your lists include personally identifiable information (as defined in 11 U. S.C. § 101(41A))?
          a No
             Q Yes. Describe........


44. Any6usiness-related property you did not already list
     No
   Q Yes. Give specific
       information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
   for Part 5. Write that number here




Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46.Do^you own or have any legal or equitable interest in anyfarm- or commercial fishing-related property?
 yQ No. Goto Part7.
/ a Yes. Goto line47.
                                                                                                                            Current value of the
                                                                                                                            portion you own?
                                                                                                                            Do not deduct secured claims
                                                                                                                            or exemptions.
47 Farm animals
   Examples: Livestock, poultry, farm-raised fish
     No
  'Q Yes..



             Case 2:18-bk-11751-EPB
Official Form 106A/B
                                                             DocSchedule
                                                                 21 Filed      10/12/18 Entered 10/15/18 11:22:23
                                                                         A/B: Property
                                                                                                                                    Desc
                                                                                                                                       page 9
                                                             Main Document           Page 11 of 45
 Debtor1         ^l U(ML- ,S^lCJMl\tf\-
                 First Name    MMiTeRame     '   "
                                                     \l4\ULJ£>jNV^
                                                     ListNime
                                                                                          Casenumberw^            'b^-n6^

48.Crops-either growing or harvested
  ^No
    Q Yes. Give specific
        information.

49. Fanjrand fishing equipment, implements, machinery, fixtures, and tools of trade
       No
    a Yes.


50. Farm and fishing supplies, chemicals, and feed
     'No
   ^Q Yes.


51.Anx farm-and commercial fishing-related property you did not already list
      No
    1-1 Yes. Give specific
        information..


52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here
                                                                                                                              G0

Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
   Exarpples: Season tickets, country club membership

       No
   d Yes. Give specific
       information.




54. Add the dollar value of all of your entries from Part 7. Write that number here                                                  0. 00



Part 8:      List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2                                                                              .
                                                                                                                       » $       03
56. Part 2: Total vehicles, line 5


57. Part 3: Total personal and household items, line 15                $-   \fsa")
58.Part 4: Total financial assets, line 36                             $


59. Part 5: Total business-related property, line 45                   $


60. Part 6: Total farm- and fishing-related property, line 52          $


61. Part 7: Total other property not listed, line 54                  +$

62. Total personal property. Add lines 56 through 61.                  A         > o.oo    Copypersonalpropertytotal ^ + $           0. 00


63.Total of all property on Schedule MB. Add line 55 + line 62.                                                                 ^) 0.00

            Case 2:18-bk-11751-EPB
Official Form 106A/B
                                                          DocSchedule
                                                              21 Filed      10/12/18 Entered 10/15/18 11:22:23
                                                                      A/B: Property
                                                                                                                             Desc
                                                                                                                                page 10
                                                          Main Document           Page 12 of 45
  Fill in this information to identify your case:

  Debtor1              NtlCjDiiz-
                     First Name
                                            S^U^-
                                            Middle Name
                                                                     \Ml, lU&(V^
                                                                       Last Name

  Debtor 2
  (Spouse, if filing) Fiisl Name            MUdte Name

  United States BankruptcyCourtfor the: District of Arizona

  Casenumber <^:^-V^- |\~Y51-1^&
  (If known)
                                                                                                                                        1-1 Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Sc e                 ule C:                                       y ~ ou            laim as                                                           04/16

Be as complete and accurateas possible. Iftwo married people are filing together, both are equally responsiblefor supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B)as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as manycopiesof Part2: Additional Pageas necessary. On the top ofany additionalpages, write
your name and case number (if known).

Foreach item of property you claim as exempt, you must specify the amount of the exemption you claim. Oneway of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, andtax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% affair market value under a law that
limits the exemption to a particular dollaramount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


  Part 1:        Identify the Property You Claim as Exempt


 1. Whic         et of exemptions are you claiming? Checkone only, even ifyour spouse is filingwithyou.
           You are claimingstate and federal nonbankruptcyexemptions. 11 U.S.C. § 522(b)(3)
      1-1 Youareclaimingfederalexemptions. 11 U.S.C.§ 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       ScheduleA/B that lists this property                portion you own
                                                           Copythe value from      Checkonly one box for each exemption.
                                                           Schedule A/B
                            ^\[    ^Si^-C%-
      Brief
      description:            ^idnjyipAl/cj^                  3(J                  aj
      Line from
      Schedule A/B:           3.i
                                                                                      100% affair market value, up to
                                                                                      any applicable statutory limit         llb\(L.                5/>^
      Brief
      description:                                                                 a$
      Line from                                                                    Q 100% affair market value, up to
      Schedule A/B:                                                                   any applicable statutory limit

      Brief
      description:                                                                 a$
      Line from                                                                    Q 100% offair market value, up to
      Schedule A/B:                                                                   any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,3757
     (Subject to adjustment on 4/01/1 9 and every 3 years after that for cases filed on or after the date of adjustment.)
     a No
     Q Yes. Didyou acquire the property covered bythe exemption within 1,215 days before you filed this case?
       a No
       a Yes


               Case 2:18-bk-11751-EPB
Official Form 106C                                        Doc 21 C: Filed
                                                          Schedule         10/12/18
                                                                    The Property You ClaimEntered
                                                                                           as Exempt 10/15/18 11:22:23                      Desc
                                                                                                                                              page 1 of_
                                                          Main Document          Page 13 of 45
Debtor1          ^C (Ql?- ^
                          II?Name'
                                   JNV LattName
                                       \U^CUf2(^                                          Casenumber,.-,Q'\^^^-\\H^\^^&

  Part 2:    Additional Page

      Brief description of the property and line    Current value of the   Amount of the exemption you claim     Specific laws that allow exemption
      on Schedule A/B that lists this property      portion you own

                                                    Copy the value from    Checkonly one box for eachexemption
                                                    Schedule A/B

     Brief
     description:                                                          a$
     Line from                                                             Q 100%affairmarketvalue,upto
     Schedule A/B:                                                            any applicable statutory limit

     Brief
     description:                                                          a$
     Line from                                                             Q 100%affairmarketvalue,upto
     Schedule A/B:                                                            any applicable statutory limit


     Brief
     description:                                                          a$
     Line from                                                             Q 100% affair market value, up to
     Schedule A/B:                                                            any applicable statutory limit

     Brief
     description:                                                          a$
     Line from                                                             Q 100% affair market value, up to
     Schedule A/B:                                                            any applicable statutory limit

     Brief
     description:                                                          a$
     Line from                                                             Q 100% offairmarket value, up to
     Schedule A/B:                                                            any applicable statutory limit


     Brief
     description:                                                          a$
     Line from                                                             Q 100% affair market value, up to
     Schedule A/B:                                                            any applicable statutory limit

     Brief
     description:                                                          a$
     Line from                                                             Q 100%offairmarketvalue, upto
     Schedule A/B:                                                            any applicable statutory limit

     Brief
     description:                                                          a$
     Line from                                                             [-1100%affairmarketvalue, up to
     Schedule A/B:                                                            any applicable statutory limit


     Brief
     description:                                                          a$
     Line from                                                             1-1 100% offair market value, up to
     Schedule A/B:                                                            any applicable statutory limit

     Brief
     description:
     Line from                                                             Q 100% offair market value, up to
     Schedule A/B:                                                            any applicable statutory limit

     Brief
     description:                                                          a$
     Line from                                                             Q 100% affair market value, up to
     Schedule A/B:                                                            any applicable statutory limit


     Brief
     description:                                                          a$
     Line from                                                             Q 100% offairmarket value, up to
     Schedule A/B:                                                            any applicable statutory limit


          Case 2:18-bk-11751-EPB
Official Form 106C
                                                   Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23
                                                   Schedule C: The Property You Claim as Exempt
                                                                                                                                 Desc
                                                                                                                                 page 2 of
                                                   Main Document             Page 14 of 45
 Fill in this information to identify your case:

 Debtor1                (WCSjtT^                                                 Wl\
                                 18

 Debtor 2
 (Spouse, if filing) First Name

 United States Bankruptcy Court for the: District Of Arizona

 Casenumber
 (Ifknown)
            ^ 1^'b ^- j U^ - I^A                                                                                                                            1-1 Check if this is an
                                                                                                                                                               amended filing

 Official Form 106D
 Schedule D: Creditors                                               Jio Have Claims Secured by Property                                                                   12/15

 Be as complete and accurateas possible. Iftwo married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       }o. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form,
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                               ColumnA                                             ^ColumnB           Column C
2. Listall securedclaims. Ifa creditorhasmorethanonesecured claim, list the creditorseparately Amountofclaim                                       'Valueofcollateral Unsecured
      foreachclaim. Ifmorethanonecreditorhasa particularclaim,listtheothercreditorsin Part2.                                pg^ deductthe          I thatsupportsthis portion
      As much as possible, list the claims in alphabetical order according to the creditor's name.                          ^aiue'of'colTateraT.   iclaim
2.1
      Creditor's Name
                        I^V^XJ?- Describethepropertythatsecurestheclaim:
                                                             [r~
                                                                                                                            $ '5>, (Mi0 . $Z^lM^^-S
      ^. KtsL^AUL^C^Ml
      ^umber^ . Street'                                        ^UJ<iO^ G^^S^J^
                                                              As of the date you file, the claim is: Checkall that apply.
                                                              Q, Contingent
        (tow
      City
                                      Sh-
                                      "   State   ZIP Code
                                                             ^Unliquidated
                                                              1-1 Disputed
  Who owes the debt? Check one.                               Nature of lien. Checkall thatapply.
         Debtor 1 only
  Q Debtor 2 only
                                                             ^An_agreementyoumade
                                                                   An agreement you made (such as mortgage or secured
                                                                   car loan)
  1-1 Debtor 1 and Debtor 2 only                              Q Statutorylien(suchastaxlien,mechanic'slien)
  Q At least one ofthe debtors and another                    Q Judgment lienfrom a lawsuit
                                                              Q Other (including a rightto offset)
  1-1 Checkif this claim relatesto a
         community debt
  Date debtwas incurred <\?                                   Last 4 digits of account number
2.2
                                                              Describe the property that secures the claim:
      Creditor's Name


      Number            Street

                                                              As of the date you file, the claim is: Checkall that apply.
                                                              Q Contingent
                                                              1-1 Unliquidated
      City                                State ZIPCode       Q Disputed
  Who owes the debt? Check one.                               Nature of lien. Checkall thatapply.
  D Debtor1 only                                              1-1 An agreement you made (such as mortgage or secured
  1-1 Debtor2 only                                                 car loan)
  1-1 Debtor1 andDebtor2 only                                 Q Statutorylien(suchastaxlien,mechanic'slien)
  LI At least one of the debtors and another                  Q Judgmentlienfroma lawsuit
                                                              Q Other(includinga righttooffset)
  LI Check if this claim relates to a
        community debt
  Date debt was incurred                                      Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:
                Case 2:18-bk-11751-EPB                              Doc 21          Filed 10/12/18             Entered 10/15/18 11:22:23                        Desc
Official Form 106D                                               Main
                                                        Schedule D:       Document
                                                                    Creditors              Page
                                                                              Who Have Claims     15 by
                                                                                              Secured ofProperty
                                                                                                         45                                                     page 1 of_
Debtor 1               A<tej^f^
                       [ Name    Mldile'Name '   '
                                                          \^Lur
                                                       Last I
                                                                                                             Case numberwknawn) o-a/ I B ~ U<-         I I I--) I ^



              Additional Page                                                                                         Column A                Column B                Column C
Part 1:                                                                                                               Amount of claim         Value of collateral     Unsecured
              After listing any entries on this page, number them beginning with 2. 3, followed                      1 Do not deduct the      that supports this      portion
              by 2.4, and so forth.                                                                                    value of collateral.   claim                   Ifany
                  L^LCg-Pj^KE_                         Describethe property that secures the claim:                  ^, ?A^                            .
                                                                                                                                                           uo
    CrSaitor's'

          PL. fa^ WA                                    Bi^is^.
    Number           Street"
                                                                          \l
                                                   As of the date you file, the claim is: Check all thatapply.
   Sbtfmt ^RlJO                 ^U         c4^. J> a Contingent
    City                        State ZIPCode          1-1 Unliquidated
                                                       1-1 Disputed
 Who owes the debt? Check one.                        Najure of lien. Checkall that apply.
      Debtor 1 only                                             An agreement you made (such as mortgage or secured
 Q Debtor2 only                                                 car loan)
 1-1 Debtor 1 and Debtor 2 only                       Q Statutorylien(suchastaxlien,mechanic'slien)
 LI At least one of the debtors and another           Q Judgment lien from a lawsuit
                                                      1-1 Other(including a rightto offset)
 Q Check ifthis claim relates to a
      community debt

 Datedebtwasincurred Cs^/Q'JQL

                                                      Describe the property that secures the claim:
   Creditor's Name



   Number            Street

                                                      As of the date you file, the claim is: Check all that apply.
                                                      1-] Contingent
                                                      1-1 Unliquidated
   City                         State ZIPCode         LI Disputed
 Who owes the debt? Check one.
                                                      Nature of lien. Check all that apply.
      Debtor 1 only
                                                      Q Anagreementyoumade(suchasmortgageorsecured
      Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                      Q Statutorylien(suchastaxlien,mechanic'slien)
      At least one of the debtors and another         LI Judgment lien from a lawsuit
 1-1 Check if this claim relates to a                 1-1 Other(includinga righttooffset)
      community debt

 Date debt was incurred                               Last 4 digits of account number


                                                      Describe the property that secures the claim:
   Creditor's Name



   Number            Street



                                                      As of the date you file, the claim is: Checkall that apply.
                                                      D Contingent
   City                         State ZIPCode         1-1 Unliquidated
                                                      Q Disputed
 Who owes the debt? Check one.                        Nature of lien. Checkall thatapply.
      Debtor 1 only                                   Q Anagreementyoumade(suchasmortgageorsecured
      Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                      D Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Q Judgment lienfrom a lawsuit
                                                      Q Other(includinga righttooffset)
 1-1 Check if this claim relates to a
     community debt
 Date debt was incurred                               Last4 digits of account number

           Add the dollar value of your entries in Column A on this page. Write that number here: ^
           If this is the last page of your form, addthe dollar value totals from all pages.
           Writethat numberhere:                                                                        $
             Case 2:18-bk-11751-EPB                    Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                                      Desc
Official Form 106D                    Additional PageofMain
                                                       Schedule D: Creditors WhoPage
                                                             Document           Have Claims
                                                                                      16 ofSecured
                                                                                             45 by Property                                                 page_of_
Debtor 1                                                                                        Case number (ffknown)
               First Name    Middle Name         Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor?
      Name                                                                                 Last4 digits of account number.

      Number        Street




      City                                          State          ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?
      Name                                                                                 Last4 digits of account number


      Number        Street




      City                                          State          ZIPCode

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last4 digits of account number.


      Number        Street




      City                                         State          ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last 4 digits of account number


      Number       Street




      City                                         State          ZIPCode

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last4 digits of account number


      Number       Street




      City                                         State          ZIPCode

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last4 digits of account number


      Number       Street




      City                                         State          ZIP Code

             Case 2:18-bk-11751-EPB                    Doc 21       Filed 10/12/18            Entered 10/15/18 11:22:23                    Desc
Official Form 106D                                    Main Document
                                           Part 2 of Schedule                   Page
                                                              D: Creditors Who Have     17 Secured
                                                                                    Claims of 45 by Property                                page_of_
      Fill in this information to identify your case:

      Debtor1             MlCtf)f£-               SS^N^                     ^ \ LLliWL\
      Debtor 2
      (Spouse, if filing) First Name

      United States Bankruptcy Court for the: District of Arizona
                                                                                                                                                   Q Check if this is an
      Casenumber ^ ^ 'H^- 1 Hfl - ^P^                                                                                                                  amended filing
      (If known)



 Official Form 106E/F
 Schedule E/F: Creditors                                            Jio Have Unsecured Claims                                                                    12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORIPi' claims.
 Listthe other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases {Off\c\a\       Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

  Part 1:           List All of Your PRIORITY Unsecured Claims

  1. Do^ny creditors have priority unsecured claims against you?
              No. Go to Part 2.
         a Yes.
 2. List all of your priority unsecured claims. Ifa creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identifywhattype of claim it is. Ifa claim has both priorityand nonpriorityamounts, list that claim here and showboth priorityand
    nonpriority amounts. As much as possible, list the claims in alphabeticalorderaccordingto the creditor's name. Ifyou have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                   Total claim   Priority      Nonpriority
                                                                                                                                                 amount        amount

2.1
                                                                    Last 4 digits of account number
          Priority Creditor's Name
                                                                    When was the debt incurred?
          Number             Street

                                                                    As of the date you file, the claim is: Checkall thatapply,

          City                           State    ZIP Code
                                                                    1-1 Contingent
                                                                    a Unliquidated
          Who incurred the debt? Check one.
                                                                    Q Disputed
           Q Debtor1 only
          1-1 Debtor 2 only                                         Type of PRIORITYunsecured claim:
          Q Debtor 1 and Debtor 2 only                              Q Domesticsupportobligations
          Q At least one of the debtors and another
                                                                    Q Taxes and certain other debts you owe the government
          1-1 Checkifthisclaim isfora communitydebt                 Q Claims for death or personal injury while you were
                                                                        intoxicated
          Is the claim subject to offset?
          a No                                                      Q Other. Specify
          a Yes
2.2
                                                                    Last 4 digits of account number _ _ _ _ g
          Priority Creditor's Name
                                                                    When was the debt incurred?

          Number            Street
                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    1-1 Contingent
          City                           State    ZIPCode           1-1 Unliquidated
          Who incurred the debt? Check one.                         Q Disputed
          Q Debtor 1 only
                                                                    Type of PRIORITY unsecured claim:
          Q Debtor2 only
                                                                    Q Domesticsupportobligations
          Q Debtor1 andDebtor2 only
          Q At leastoneofthedebtorsandanother                       Q Taxes and certain other debts you owe the government
                                                                    Q Claims for death or personal injury while you were
          Q Checkifthis claim isfora communitydebt                      intoxicated

          Is the claim subject to offset?                           1-1 Other. Specify
          a No
          a Yes
                   Case 2:18-bk-11751-EPB                    Doc 21           Filed 10/12/18              Entered 10/15/18 11:22:23                    Desc
 Official Form 106E/F                                       MainE/F:
                                                         Schedule Document          Page
                                                                     Creditors Who Have    18 of Claims
                                                                                        Unsecured 45                                                    page 1 of.
 Debtor1           NlCjQi^ SMUtYJ^. ^U Jt^J^
                  First Name"     -   Middfe'Name*   "     Last Name ~
                                                                                                           Casenumbery^n;>c^.     ,            ]±-n^i-£^)
  Part 1:        Your PRIORITYUnsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2. 3, followed by 2.4, and so forth.                             Total claim   Priority     Nonpriority
                                                                                                                                                    amount       amount


                                                                    Last4 digits of account number
       Priority Creditor's Name

                                                                    When was the debt incurred?
       Number          Street

                                                                   As of the date you file, the claim is: Check all that apply.

                                                                    Q Contingent
       City                                 State    ZIPCode        1-1 Unliquidated
                                                                    1-1 Disputed
      Who incurred the debt? Check one.

       Q Debtor 1 only                                             Type of PRIORITYunsecured claim:
       LI Debtor 2 only
                                                                    Q Domestic support obligations
       1-1 Debtor 1 and Debtor 2 only
                                                                    Q Taxesandcertainotherdebtsyouowethegovernment
       LI At least one of the debtors and another
                                                                    Q Claims for death or personal injury while you were
                                                                        intoxicated
       LI Check if this claim is for a community debt
                                                                    Q Other.Specify
      Is the claim subject to offset?
       1-1 No
       a Yes


                                                                   Last 4 digits of account number
      Priority Creditor's Name

                                                                   When was the debt incurred?
      Number           Street

                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   Q Contingent
      City                                  State    ZIPCode       1-1 Unliquidated
                                                                   Q Disputed
      Who incurred the debt? Check one.

      D Debtor 1 only                                              Type of PRIORITY unsecured claim:
      D Debtor 2 only
                                                                   Q Domestic support obligations
      D Debtor1 andDebtor2 only                                    Q Taxesandcertainotherdebtsyouowethegovernment
      LI At leastoneofthedebtorsandanother
                                                                   Q Claimsfordeathorpersonalinjurywhileyouwere
                                                                       intoxicated
      1-1 Check if this claim is for a community debt
                                                                   1-1 Other.Specify
      Is the claim subject to offset?
      1-1 No
      a Yes

                                                                   Last4 digits of account number _ _
      Priority Crediloi's Name

                                                                   When was the debt Incurred?
      Number           Street

                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   LI Contingent
      City                                 State     ZIP Code      Q Unliquidated
                                                                   Q Disputed
      Who incurred the debt? Check one.

      Q Debtor1 only                                               Type of PRIORITYunsecured claim:
      Q Debtor2 only                                               Q Domesticsupportobligations
      Q Debtor1 andDebtor2 only                                    Q Taxesandcertainotherdebtsyouowethegovernment
      D At least one of the debtors and another
                                                                   D Claimsfordeathorpersonalinjurywhileyouwere
                                                                       intoxicated
      1-1 Checkifthisclaim isfora communitydebt
                                                                   Q Other.Specify
      Is the claim subject to offset?
      UNO
      a Yes
              Case 2:18-bk-11751-EPB                            Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                           Desc
Official Form 106E/F                                            Main Document    Page 19 of 45
                                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                  page_of_
  Debtor1 ^M-t?          First Name
                                        S^.»^^
                                        ^Middle Name
                                                                 V4l^NV^
                                                             Last Name
                                                                                                                Case number {/fi<no»n)0" \<J~        L^<-'


  Part 2:            List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      Q^o. You havenothing to report in thispart. Submitthisform to thecourtwithyourotherschedules.
              i'es

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separatelyfor each claim. For each claim listed, identifywhattype of claim it is. Do not list claimsalready
      included in Part 1. Ifmore than one creditor holds a particularclaim, list the other creditors in Part3. If you have more than three nonpriorityunsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim

4.1
          mr eww\\\2^
       Nonpriority Creditor's Name
                                                       ^Q^KL                            Last4 digits of account number_^
                                                                                                                                                                 ^
       loal S U^G^O^ ^J£-                                                               Whenwasthedebtincurred? f\r^A\                          \5
       Number Street

        SVS\K        (so  £o1 \^4
       City                                              State           ZIPCode        As of the date you file, the claim is: Check all that apply.

                                                                                        Q^Contingent
       Whojncurred the debt? Check one.                                                     Unliquidated
              Debtor 1 only                                                             1-1 Disputed
       1-1 Debtor 2 only
       Q Debtor 1 and Debtor 2 only                                                     Type of NONPRIORITY unsecured claim:
       Q At leastoneofthedebtorsandanother                                              [-1 Studentloans
       Q Check if this claim is for a community debt                                    LI Obligations arising out ofa separation agreement or divorce
                                                                                            that you did not report as priority claims
       Is the claim subjectto offset?                                                   Q Debtsto pensionorjiroflt-sharingplans,andothersimilardebts
       1-1 No                                                                          ^ Other.Specify WPlT Fj^lO / \J^?Sl SU 0
      ^Yes
4.2                                                                                     Last4 digits of account number _
       Nonpriority Creditor's Name                                                      Whenwasthedebtincurred?                  d/LO
         \^\                   ^.       C&POi^ S^ \^
       Number                  Street



       Ciff          ~     '
                               U-k                      to_
                                                         State
                                                                                        As of the date you file, the claim is: Check all that apply.
                                                                                        Q. Contingent
       Who incurred the debt? Check one.                                               ^ Unliquidated
              Debtor 1 only
                                                                                        Q Disputed
              Debtor 2 only
       1-1 Debtor 1 and Debtor 2 only                                                   Type of NONPRIORITY unsecured claim:
       Q At least one of the debtors and another                                        1-1 Student loans
                                                                                        Q Obligations arising out of a separation agreement or divorce
       Q Checkifthisclaim isfora communitydebt                                              that you did not report as priority claims
       Is the claim subject to offset?                                                  Q Debts to pension or profit-sharing plans, and other similar debts
       ao                                                                              po     ther.   Specify       tj^lL     \^C][^A
              Yes
4.3
                         ^^
       Nonpriority Creditor's Name
                                                                                        Last4 digits of account number                                           ^?uA
                                                                                       When was the debt incurred?
         \HC^                    ULteAJL^O
              iber             Street
                               .X                      te-           <ha<s             As of the date you file, the claim is: Checkall that apply.
       City                                              State           ZlPCode"

                incurred the debt? Check one.
                                                                                        Q Contingent
                                                                                        1-1 Unliquidated
              Debtor
              D      1 only
                                                                                        1-1 Disputed
       1-1 Debtor 2 only
       Q Debtor 1 and Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
       Q At leastoneofthedebtorsandanother
                                                                                        Q Student loans
       Q Check if this claim is for a community debt                                    Q Obligationsarisingoutofa separationagreementordivorce
                                                                                            that you did not report as priority claims
       Is the claim subject to offset?
                                                                                        01 . Debts to pension oysrofit-sharing plans, and other
       a No
       a Yes                                                                           ^/Other.Specify (7^1 ^07,^^^-
               Case 2:18-bk-11751-EPB                               Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                           Desc
Official Form 106E/F                                                Main Document    Page 20 of 45
                                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 page _ of_
 Debtcn              _^H£-,.. S(MVJf\^
                         tame           MMd.le Name
                                                                       V^tLLft^S
                                                               Last Name
                                                                                                           Casenumber. ^, ^'' Ib - bjL- ^51-1^6
  Part 2:        Your NONPRIORITYUnsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4. 5, and so forth.                                                      Total claim


  ^                                                                                     Last4 digits of account number
                         SflJ^-T CAjJSMj2fikl^
                   iy Creditor's Name

                                   ^A
                                                                                        Whenwasthedebtincurred?                     '\f{^QL lS 0<S^S
       Number             Street
                                                      r\                                As of the date you file, the claim is: Checkall that apply.
                                        \4f^
       Cit                                                 State           ZIPCode      Q. Contingent
                                                                                            Unliquidated
       Who incurred the debt? Check one.
                                                                                       /Q Disputed
         ^Debtor 1 only
      ^a
       1-1 Debtor2 only                                                                 Type of NONPRIORITTunsecured claim:
       Q Debtor 1 and Debtor 2 only                                                     LI Studentloans
       Q At leastoneofthedebtorsandanother
                                                                                        Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                            you did not report as priority claims
       Q Checkifthis claim isfora communitydebt
                                                                                        Q Debtstopensionor.proflt-sharingRlans,aylothersimilardebts
       Is the claim subject to offset?
             7                                                                        ^Other.Specify C^S/J ^Q
       a No
             Yes



       NonpriorityC ditor'sName
                             me
                                   s'                                                   Last 4 digits of account number _            _   _   _               $/

                                                                                        When         the debt incurred?             M^OA^ pA ^^1
       Number            Street
                                    ^ n                                                        was




                                                                                        As of the date you file, the claim is: Check all that apply.
                                        A                  ^               -^ )
                                                           State              Code
                                                                                        Q Contingent
                                                                                       /BT Dhliquidated
      Who incurred the debt? Check one.
                                                                                        Q Disputed
             Debtor 1 only
       Q Debtor2 only                                                                   Type of NONPRIORITVunsecured claim:
       Q Debtor 1 and Debtor 2 only                                                     Q Student loans
       Q At leastoneofthedebtorsandanother
                                                                                        Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                            you did not report as priority claims
       LI Checkifthisclaim isfora communitydebt
                                                                                        Q Debtstopensionqi,profit-sharingplans,andothersimilardebts
      Is the claim subject to offset?                                                      ' Other.Specify f^kl             (^0\ [S^SjK-^
      a No
      a Yes

                                                                                                                                                             $o^j/n
        t^s-r- Q^^ (NI^AJ ^i ( UIAK^                                                    Last 4 digits of account number
      N npriority     reditor's Name
                                                                                        Whenwasthe debt incurred? (
      Number
                 OCi Street
                     S . Q^\^M                         i^E. ^liH?. ?.<
                                                                                        As of the date you file, the claim is: Checkall thatapply.
      ^ p\^^                                   \^          ^^              ZIPCode      1-I^Contingent
                                                                                            Unliquidated
      Who incurred the debt? Checkone.                                                  Q Disputed
      y Debtor1 only
    //Q Debtor2 only                                                                    Type of NONPRIORITY unsecured claim:
      Q Debtor 1 and Debtor 2 only                                                      Q Student loans
      Q At least one of the debtors and another
                                                                                        Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                            you did not report as priority claims
      Q Checkifthis claim Isfora communitydebt
                                                                                        LI Debts to pension orprofit-sharing plans, andother similar debts
      Is the claim subject to offset?                                                     "Sther.Spectfy__LVM£l^&y2_
      a No
      a Yes


             Case 2:18-bk-11751-EPB                                 Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                     Desc
Official Form 106E/F                                                Main Document    Page 21 of 45
                                                               Schedule E/F: Creditors Who Have Unsecured Claims                                             page_of_
 Debtor1            KiiFKUii- ^Ao(\y\^
                  First Niihe" .'       MMdleName    '
                                                                   \U\UJ^A
                                                            Last Name'
                                                                                                           Casenu.be~, 6>1' /B -'0^.- | ll61- &^
  Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Usethis page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additionalcreditors here. Ifyou do not haveadditionalpe onsto be notifiedfor anydebts in Parts 1 or 2, do not fill out or submit this page.

                                    ^w
                                    .




                                                                                  On whichentry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                      -ine_of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
         umber
                                                                                                           Q Part 2: Creditors with Nonpriority Unsecured Claims

                                                                                  Last 4 digits of account number
                                             ^
       City                                         Stae             ZIPCode

                                                                                      Onwhichentry in Part 1 or Part2 did you list the original creditor?
       Name

                                                                                      Line_ of (Checkone): 1-1 Part 1:Creditorswith PriorityUnsecuredClaims
       Number          Street
                                                                                                           Q Part2: Creditorswith NonpriorityUnsecured
                                                                                      Claims

                                                                                      Last 4 digits of account number
       City                                         State            ZIPCode

                                                                                      On which entry in Part     r Part 2 did you list the original creditor?
       Name
                                                                                  .



                                                                                      Line_of (C ckone): 1-1 Part 1: Creditors with Pnority Unsecured Claims
       Number          Street
                                                                                                         Q Part2: Creditors with Nonprionty Unsecured
                                                                                      Claims

                                                                                      Last digits of account number
       Git                                          State            ZIPCode

                                                                                       n which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                      Line_of (Check one): 1-1 Part 1:Creditors with Priority Unsecured Claims
       Number          Street                                                                              (-1 Part2: Creditorswith NonpriorityUnsecured
                                                                                  Claims

                                                                                      Last 4 digits of account number
      City                                          State                IPCode

                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                      Line_of (Checkone): Q Part 1: Creditorswith PriorityUnsecuredClaims
      Number           Street
                                                                                                          1-1 Part2: Creditorswith NonpriorityUnsecured
                                                                                  Claims


                                                                                  Last 4 digits of account number
      Cit                                           State            ZIPCode

                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line_of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
      Number           Street
                                                                                                       Q Part2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _
      City                                          State            ZIPCode


                                                                                  On which entry in Part 1 or Part2 did you list the original creditor?
      Name


                                                                                  Line_         of (Check one): 1-1 Part 1:Creditors with Priority Unsecured Claims
      Number           Street
                                                                                                                Q Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims


      City                                          State            ZIP Code     Last 4 digits of account number

              Case 2:18-bk-11751-EPB                             Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                       Desc
Official Form 106E/F                                             Main Document    Page 22 of 45
                                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page_of
                  kU^U-SbdC^N^
                    ime      ~ MMdte'NSme
                                                          \UI, 1L1
                                                  Last Name *
                                                                                            Casenumbem, cCH9> -V'M- I 1~]Sl"-^^
 Part 4:    Add the Amounts for Each Type of Unsecured Claim


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U. S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                      Total claim



 Total claims
                    Domestic support obligations                              6a.
                                                                                      $
                                                                                                    ^
 from Part 1
                    Taxes and certain other debts you owe the
                    government                                                6b.     $
                                                                                                    ^
                6c. Claims for death or personal injury while you were
                    intoxicated                                               6c.
                                                                                      $
                                                                                                    ^
                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                   6d.   +$              ^

                6e. Total. Add lines 6a through 6d.                           6e.
                                                                                                -e
                                                                                      Total claim


Total claims
                6f. Student loans
                                                                              6f-     $ <^ct6
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                    6g. $
                                                                                                    ^f
                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                             6h.                   ^
                6i. Other. Add all other nonpnority unsecured claims.                               ^
                    Write that amount here.                                   6i. +


                6j. Total. Add lines 6f through 6i.
                                                                              6j- , c^M oVl)




           Case 2:18-bk-11751-EPB                        Doc 21       Filed 10/12/18      Entered 10/15/18 11:22:23              Desc
Official Form 106E/F                                     MainE/F:
                                                      Schedule Document          Page
                                                                  Creditors Who Have    23 of Claims
                                                                                     Unsecured 45                                       page_of.
  Fill in this information to identify your case:

  Debtor               YUCDJ^               ^MOt4M^                          U/D^AJ^
  Debtor 2
  (Spouse If filing)   Fiist Name

  United States Bankruptcy Court forthe: District Of Arizona
  Casenumber ^. {^^L-\\^                             - 0P^                                                                              Q Check if this is an
  (If known)
                                                                                                                                           amended filing


Official Form 106G
Schedule G: Executory Contracts and Une pired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do,you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You havenothing else to report on thisform.
      Q Yes. Fillin all ofthe information beloweven ifthe contracts or leases are listed on ScheduleA/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
      unexpired leases.



      Person or company with whom you have the contract or lease                              State what the contract or lease is for


2.1
      Name


      Number             Street


      City                              State      ZIP Code

2.2
      Name


      Number             Street


      Ci                                State      ZIP Code
2.3
      Name


      Number             Street


      d                                 State      ZIP Code

2.4
      Name


      Number             Street

      Ci                                State      ZIPCode
2.5
      Name


      Number             Street


      City                              State      ZIP Code

               Case 2:18-bk-11751-EPB                    Doc 21       Filed 10/12/18            Entered 10/15/18 11:22:23                  Desc
Official Form 106G                              Schedule Main  Document
                                                         G: Executory             Page
                                                                      Contracts and      24 of
                                                                                    Unexpired    45
                                                                                              Leases                                        page 1 of.
  Debtor 1                                                                                       Case number (tfknown)
                 Firsl Name    Middle Name




                 Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                            What the contract or lease is for


  2._
        Name


        Number        Street


        City                                 State      ZIPCode

  2,_
        Name


        Number        Street


        City                                 State      ZIPCode

  2._
        Name


        Number        Street


        City                                 State      ZIPCode

  2.
        Name


        Number        Street


        City                                 State      ZIPCode

  2.
        Name


        Number       Street


        City                                 State      ZIP Code

  2.
        Name


        Number       Street


        City                                 State      ZIP Code


  2.
        Name


        Number       Street


        City                                 State      ZIP Code


  2.
        Name

        Number       Street


        City                                 State      ZIP Code


               Case 2:18-bk-11751-EPB                         Doc 21      Filed 10/12/18        Entered 10/15/18 11:22:23         Desc
Official Form 106G                                   Schedule Main  Document
                                                              G: Executory             Page
                                                                           Contracts and      25 of
                                                                                         Unexpired    45
                                                                                                   Leases                         page_of_
  Fill in this information to identify your case:

  Debtor1                 HlODl?.-
                         FiretName
                                                     ^UfkjK^T
                                                     -Middle Name
                                                                            \kt II 1 I b^S^
                                                                            "Last Maine

  Debtor 2
  (Spouse, if filing) First Name

  United StatesBankruptcyCourtforthe: District of Arizona

  Casenumber <&'.I ft - \0^-                   l\-1^-          {^ ft
  (If known)
                                                                                                                                            Q Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                  12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and numberthe entries in the boxeson the left. AttachtheAdditional Pageto this page.Onthetop ofanyAdditional Pages,writeyournameand
case number (if known). Answer every question.

  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       ^3'No
       a Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states andterritories include
     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       Q No. Goto line 3.
       Q Yes.Didyourspouse,formerspouse,orlegalequivalentlivewithyouatthetime?
               a No
               Q Yes. Inwhichcommunity stateorterritory did you live?                                 Fill in the nameandcurrent address ofthatperson.

                  Name of your spouse, former spouse, or legal equivalent



                  Number              Street



                  City                                           State                    ZIPCode

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     ScheduleD (Official Form 106D), Schedule£/F(Official Form 106E/F),or ScheduleG (Official Form 106G). Use ScheduleD,
       ScheduleE/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt
                                                                                                            Checkall schedules thatapply:
 3.1
         Name
                                                                                                            Q Schedule D, line
                                                                                                            1-1 ScheduleE/F, line
         Number              Street
                                                                                                            a ScheduleG, line

         Cit                                                        State                  ZIP Code
3.2
                                                                                                            LI Schedule D, line
         Name
                                                                                                            a Schedule E/F, line
         Number              Street                                                                         Q ScheduleG, line

         Cit                                                        State                  ZIPCode
3.3
         Name
                                                                                                            a Schedule D, line
                                                                                                            1-] Schedule E/F, line
         Number              Street                                                                         a Schedule G, line

         Cit                                                        State                  ZIPCode

               Case 2:18-bk-11751-EPB                               Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                            Desc
Official Form 106H
                                                                    Main Document         Page 26 of 45
                                                                         Schedule H: Your Codebtors                                             page 1 of
  Debtor1 N;IC                -- ^MS<          \^UUfe<^S                      Case number {iiknown}
                 First Name     Middle Name   Last Name




                 Additional Page to List More Codebtore

       Column ?;Yourcodebtor                                                        Column 2: The creditor to whom you owe the debt

                                                                                    Check all schedules that apply:

                                                                                     Q Schedule D, line
        Name
                                                                                     a ScheduleE/F, line
        Number         Street                                                        Q Schedule G, line

        Cit                                        State           ZIPCode


                                                                                     a Schedule D, line
        Name
                                                                                     a ScheduleE/F, line
        Number         Street                                                        Q ScheduleG, line

        Cit                                        Stale           ZIP Code


                                                                                     a Schedule D, line
        Name
                                                                                     a Schedule E/F, line.
        Number         Street                                                        a ScheduleG, line


        City                                      State            ZIPCode


                                                                                    1-1 Schedule D, line
        Name
                                                                                    a Schedule E/F, line
        Number        Street                                                         Q Schedule G, line

        Cit                                       State            ZIPCode


                                                                                    Q Schedule D, line
        Name
                                                                                    a Schedule E/F, line.
        Number        Street                                                         Q ScheduleG, line


        Cit                                       State            ZIPCode


                                                                                    1-1 ScheduleD, line
        Name
                                                                                    a Schedule E/F, line
        Number        Street                                                        1-1 ScheduleG, line

       Cit                                        State            ZIP Code


                                                                                    a Schedule D, line.
       Name
                                                                                    a Schedule E/F, line
       Number         Street                                                        a Schedule G, line.

       Cit                                        State            ZIPCode


                                                                                    1-1 Schedule D, line
       Name
                                                                                    1-1 ScheduleE/F, line
       Number         Street                                                        a ScheduleG, line

       Cit                                        State            ZIP Code


               Case 2:18-bk-11751-EPB               Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                   Desc
Official Form 106H                                  MainSchedule
                                                          Document          Page 27 of 45
                                                                 H: Your Codebtors                                    page_of.
  Fill in this information to identify your case:


  Debtor 1               \\   ie
                                   L-    ^^^
                                          WKidleName
                                                                ^WP^
                                                                  Last Name"

  Debtor 2
  (Spouse, if filing) FlistName

  United States Bankruptcy Court for the: District Of Arizona

  Casenumber ^. |B. ^- \ \~l6 - '&P^
  (If known)
                                                                                                              Check if this is:
                                                                                                              Q Anamendedfiling
                                                                                                              Q A supplementshowingpostpetitionchapter13
                                                                                                                  income as of the following date:
Official Form 1061                                                                                                MM / DD/ YYYY

    c                                        nc                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

  Part 1:          Describe Employment


 1. Fill in your employment
    information.                                                        Debtor 1                                              Debtor 2 or non-filing spouse
    If you have more than one job,
    attach a separate page with
    information about additional        Employment status                Employed                                             Q Employed
    employers.                                                       Q Notemployed                                            Q Notemployed
    Include part-time, seasonal, or
    self-employed work.
                                        Occupation
    Occupation may include student
    or homemaker, if it applies.
                                        Employer's name                                            Ctfmw^
                                        Employer'saddress          ^QO) \^                         ^ gf
                                                                    Number           Street                                Number    Street




                                                                 -yam^  [^ 0^\
                                                                  ;ity . State ZIP Code                                    City                 State   ZIP Code

                                        How long employed there?               |,.


  Part 2:          Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. Ifyou have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    Ifyou or your non-filingspouse have more than one employer, combine the information forall employers forthat person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1           For Debtor 2 or
                                                                                                                            non-filing spouse
 2. List monthly gross wages,salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.              2.
                                                                                                    $0                        $

 3. Estimate and list monthly overtime pay.                                                   3. +$           er           +$

 4. Calculate gross income. Add line 2 + line 3.                                              4.    $.   .
                                                                                                             m.               $




               Case 2:18-bk-11751-EPB
Official Form 1061
                                                       Doc 21Schedule
                                                                FiledI: Your
                                                                        10/12/18
                                                                             Income
                                                                                    Entered 10/15/18 11:22:23                                    Desc
                                                                                                                                                    page 1
                                                       Main Document          Page 28 of 45
 Debtor 1              lfd^L<3^\kKN^-
                  Frtl Ntme""   MUDSl&me
                                                        V-hUUDUk
                                                  Last Name
                                                                                                       Casenumbers, 0?<-Ift-^ \ \'~i^\ -Qfi6
                                                                                                  For Debtor 1      For Debtor 2 or
                                                                                                                    non-filin s ouse

     Copy line 4 here.                                                             -.^4.          $ (oy^
 5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                   5a.
      5b. Mandatorycontributions for retirement plans                                     5b.                         $

      5c. Voluntary contributions for retirement plans                                    5c.     $            ^      $

      5d. Required repayments of retirement fund loans                                    5d.     $            ^      $
      5e. Insurance                                                                       5e.     $            0      $

      5f. Domestic support obligations                                                    5f.     $                   $

                                                                                                  $                   $
      5g. Union dues                                                                  5g.
      5h. Other deductions. Specify:                                                  5h. +$

  6. Add the payroll deductions. Add lines 5a +5b +5c+ 5d + 5e +5f + 5g + 5h.             6.


  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.      $.

  8. List all other income regularly received:
      8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                              ^
            monthly net income.                                                       8a.
      Sb. Interest and dividends                                                      8b.
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
          Include alimony, spousal support, child support, maintenance, divorce
          settlement, and property settlement.                                  8c.
     80. Unemployment compensation                                                    8d.
      8e. Social Security                                                             8e.        ^w
      8f. Othergovernment assistancethat you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housingsubsidies.
            Specify:                                                                  8f.         $                  $

      8g. Pension or retirement income                                                8g.        $                   $

      8h. Other monthly income. Specify:                                              8h.       4-$                 +$
  9. Add all other income. Add lines 8a +8b +8c+ 8d + 8e+ 8f +8g + 8h.                    9.     $_    ~^w           $


10.Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor2 or non-flling spouse.             10.    $_    v^-
                                                                                                       .


                                                                                                           T
                                                                                                                   + $

11. State all other regular contributions to the expensesthat you list in ScheduleJ.
    Includecontributionsfrom an unmarried partner, members ofyour household,your dependents, your roommates, and other
    friends or relatives.

    Do not includeany amounts alreadyincluded in lines 2-10or amountsthat are not availableto pay expenses listed in ScheduleJ.
    Specify:                                                                                                                          11. + $
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write thatamounton the Summaryof YourAssdtsand Liabilitiesand Certain Statistical Information, if it applies                      12.
                                                                                                                                             Co bined
                                                                                                                                             monthly Income
 13.Do^you expect an increase or decrease within the year after you file this form?
      'No.
      Q Yes. Explain:

             Case 2:18-bk-11751-EPB
Official Form 1061
                                                       Doc 21Schedule
                                                                FiledI: Your
                                                                        10/12/18
                                                                             Income
                                                                                    Entered 10/15/18 11:22:23                               Desc
                                                                                                                                                page 2
                                                       Main Document          Page 29 of 45
      Fill in this information to identify your case:

      Debtor1                i^mE.
                          First Name   -
                                             ^jU^N^
                                                Middle Name
                                                                        \r(lttJ
                                                                         \ Last Name                          Check if this is:
      Debtor 2
      (Spouse, if filing) First Name
                                                                                                              Q Anamendedfiling
                                                                                                              Q A supplementshowingpostpetitionchapter13
      United States Bankruptcy Court for the: District Of Arizona                                                expenses as of the following date:
      Casenumber ^ ^ . ^ \\^
      (If known)
                                                       - ^Pft                                                    MM / DD/ YYYY



    Official Form 106J
                                                                nses                                                                                                12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach anothersheetto this form. On the top of anyadditional pages, write your name and case number
    (if known). Answer every question.

     Part 1:            Describe Your Household

    1. Is this a joint case?

            No. Go to line 2.
       Q Yes. Does Debtor 2 live in a separate household?
!
                    a No
                    Q Yes. Debtor 2 must file Official Form 106J-2, Expenses forSeparate Household of Debtor 2.
    2. Do you have dependents?                Q No
                                                                                       Dependent's relationship to                 Dependent's        Does dependent live
       Do not list Debtor 1 and                   Yes. Fill out this information for   Debtor 1 or Debtor 2                                           with you?
       Debtor 2.                                  each dependent.
       Do not state the dependents'                                                        ^\WJ2-                                                        ..

                                                                                                                                                              N,
                                                                                                                                                              No
       names.                                                                                                                                                 y<
                                                                                                                                                      a^i
                                                                                                                                                      1-1JA)
                                                                                                                                                              Y<
                                                                                                                                                              Yes
                                                                                                                                                      a No
                                                                                                                                                      a Yes
                                                                                                                                                      Q No
                                                                                                                                                      a Yes
                                                                                                                                                      [-1 No
                                                                                                                                                      a Yes
13. Doyourexpensesinclude                         No
      expenses of people other than
       ourself and our dependents?            a Yes

    Part 2:         Estimate Your Ongoing Monthly Expenses

    Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
    expenses as of a date after the bankruptcy is filed. If this is a supplemental ScheduleJ, check the box at the top ofthe form and fill in the
    applicable date.
    Include expenses paid for with non-cash government assistance if you know the value of
    such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                                Your expenses

    4. The rental or home ownership expenses for your residence. Include first mortgage payments and
       any rent for the ground or lot.
                                                                                                                                                      /b
        If not included in line 4:
        4a.     Real estate taxes                                                                                            4a.     $           £y
        4b. Property, homeowner's, or renter's insurance                                                                     4b.     $

        4c.     Home maintenance, repair, and upkeep expenses                                                                4c.     $

        4d.     Homeowner's association or condominium dues                                                                  4d.     $


Official Form 106J Case 2:18-bk-11751-EPB                     DocSchedule
                                                                  21 Filed      10/12/18
                                                                          J: Your Expenses Entered 10/15/18 11:22:23                                  Desc
                                                                                                                                                         page 1
                                                              Main Document          Page 30 of 45
         Debtor 1                                              IMM^
                                                           test I
                                                                                                 Case number (ffknown)        c^B \c                  -oi'r j?

                                                                                                                                      Your expenses


          5. Additional mortgage payments for your residence, such as home equity loans

          6. Utilities:
               6a. Electricity, heat, natural gas                                                                        6a.      $        66 ^
               6b. Water, sewer, garbagecollection                                                                       6b.      $

               6c. Telephone, cell phone, Internet, satellite, and cable services                                        6c.      $             /GO
               6d. Other. Specify:                                                                                       6d.      $

          7. Food and housekeeping supplies                                                                              7.       $_      o^L/n
          8. Childcare and children's education costs                                                                    8.     $            ^r
          9. Clothing, laundry, and dry cleaning                                                                         9.     $

    ,
        10. Personal care products and services                                                                          10.    $            ^-.
    '11. Medical and dental expenses                                                                                     11.    $            ^
        12. Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                                                 12.
                                                                                                                                $             O. U^
        13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.    $

    114. Charitable contributions and religious donations                                                                14.    $              0.
        15. Insurance.
               Do not include insurance deducted from your pay or included in lines 4 or 20.

               15a. Life insurance                                                                                       15a. $
               15b. Health insurance                                                                                     15b. $
               l5c. Vehicle insurance                                                                                    15C. $            ^0. 03
               l5d. Other insurance. Specify:                                                                            15d. $

:16.          Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
              Specify:                                                                                                   16. $

,
        17.   Installment or lease payments:
              l7a. Car payments for Vehicle 1                                                                            17a.   $          &SO 03
              17b. Car payments for Vehicle 2                                                                            17b.   $

              17c. Other. Specify:                                                                                       17c.   $

              l7d. Other. Specify:                                                                                       17d.   $

        18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
              your pay on line 5, ScheduleI, Your Income(Official Form 1061).                                             18.

;19.          Other payments you make to support others who do not live with you.
              Specify:                                                                                                    19. $

120. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

              20a. Mortgages on other property                                                                           20a. $

              20b. Real estate taxes                                                                                     20b. $

              20c. Property, homeowner's, or renter's insurance                                                          20c. $
              20d. Maintenance, repair, and upkeep expenses                                                              20d. $
              20e. Homeowner's association or condominium dues                                                           20e. $



            Case
Official Form 106J           2:18-bk-11751-EPB                      DocSchedule
                                                                        21 FiledJ: Your10/12/18
                                                                                        Expenses  Entered 10/15/18 11:22:23                       Desc
                                                                                                                                                     page 2
                                                                    Main Document           Page 31 of 45
  Debton         ^\
                FiftlName
                             _ ^^IrKlM&r V^ \ U J ^NVS
                              Middle Name   ~ .   "   LastN'ame
                                                                                              Casenumbers, pl. I (3>-b)^- I H^ -£^


: 21. Other. Specify:                                                                                     21.   +$


22. Calculate your monthly expenses.

     22a. Add lines 4through 21.                                                                        22a.     $   00
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 1 06J-2              22b.     $

     22c. Add line 22a and 22b. The result is your monthly expenses.                                    22c.     $    0


 23. Calculate your monthly net income.
    23a. Copy line 12 (yourcombinedmonthly income)from Schedule I.                                       23a.
                                                                                                                 $ o)'b0^
   23b.    Copy your monthly expenses from line 22c above.                                               23b.  . _. o^/^o
   23c. Subtractyour monthly expensesfrom your monthly income.
           The result is your monthly net income.                                                       23c.
                                                                                                                                      .
                                                                                                                                          ch

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expectto finish payingfor your car loan within the yearor do you expectyour
    mortgage paymentto increaseor decreasebecauseof a modificationto the terms of your mortgage?

  ^0. ^
   V Yes.        Explain here:
                                            ^) ca^ vuc^ sri^                                 d-b                     px6
                             Cfr ^[Q^\c\.                         \n\ ^or ^>w^ vw^ ^ ^^ da^:
                            N-^uM ^ ^ '^1JL- ^^ C^c) G^IA^^ QdtAcd-^




            Case
Official Form 106J    2:18-bk-11751-EPB                    DocSchedule
                                                               21 FiledJ: Your10/12/18
                                                                               Expenses  Entered 10/15/18 11:22:23        Desc
                                                                                                                             page 3
                                                           Main Document           Page 32 of 45
Fill in this information to identify your case:

Debtor1             _^V^^
                   FlretNaftie"     -
                                         SA^kk^ \H[\iibN^
                                         MUdleNaine           LastNama

Debtor 2
(Spouse, if filing) FlratName

United States Bankruptcy Court for the: District Of Arizona
Casenumber
(ffknown)
           ^j^&lC- {[r^\ -}
                                                                                                                                        1-1 Check if this is an
                                                                                                                                           amended filing


  Official Form 106Dec
                        at!o             out an                             al       e t              s So ec ules                                    12/15

  Iftwo married people are filing together, both are equally responsible for supplying correct information.
 You must filethisformwheneveryou file bankruptcyschedulesor amendedschedules.Makinga false statement, concealingproperty, or
 obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOTan attorney to help you fill out bankruptcy forms?
            No
       Q Yes. Nameofperson                                                    .         AttachBankruptcyPetitionPreparer'sNotice,Declaration,and
                                                                                        Signature(Official Form 119).




      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true d c rect.




        Signature of Debtor 1                                   Signature of Debtor 2


        Date
               MM/
                     lo- /r
                          )       YYYf
                                                                Date
                                                                         MM/ DD /   YYYY




 Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules
               Case 2:18-bk-11751-EPB                 Doc  21 Filed 10/12/18 Entered 10/15/18 11:22:23                                      Desc
                                                      Main Document            Page 33 of 45
    Fill in this information to identify your case:

    Debton                 W^
                           First Name .
                                                 ^^^J^
                                                    Middle Name
                                                                           ^\\U^^S
                                                                           '   Last Name

    Debtor 2
    (SpO USe, if filing)   First Name



    United States BankruptcyCourtforthe: District of Arizona

    Casenunber ^''|9) - ^ / 1^ - \Z^
    (If known)                                                                                                                     Q Check if this is an
                                                                                                                                      amended filing



  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                               04/16

  Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


   Part 1:           Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

         Q.Married
              Not married


   2. Ducjng the last 3 years, have you lived anywhereother than whereyou live now?
              No
   /Q Yes.Listalloftheplacesyoulivedinthelast3 years. Donotincludewhereyoulivenow.
                 Debtor 1:                                            Dates Debtor 1       Debtor 2:                                   Dates Debtor 2
                                                                      lived there                                                      lived there

                                                                                           Q Sameas Debtor 1                          Q SameasDebtor 1

                                                                      From                                                                From
                   Number               Street                                                Number Street
                                                                      To                                                                  To



                   City                          State ZIP Code                               City              State ZIPCode

                                                                                           Q SameasDebtor 1                           LI Same as Debtor 1

                                                                      From                                                                From
                  Number            Street                                                    Number Street
                                                                      To                                                                 To



                  City                           State ZIPCode                                                  State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      stetes andterritoriesincludeArizona, California, Idaho, Louisiana, Nevada, NewMexico, Puerto Rico, Texas, Washington,and Wisconsin.)
              No
        1-1 Yes.Makesureyoufill outScheduleH:YourCodebtors(OfficialForm 106H).


   Part 2: Explain the Sources of Your Income

Official Form 107                                   Statement of FinancialAffairsfor IndividualsFilingfor Bankruptcy                        page 1
                 Case 2:18-bk-11751-EPB                           Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                      Desc
                                                                  Main Document    Page 34 of 45
Debton        W^- . S^^N^ . \^\U-t^M<.
                    Name       WiddleName .          Last Name
                                                                                                       Casenumber^^>: l<6-b^- \ \~lS\ ^W^

  4. Did you have any income from employment or from operatinga business during this year or the two previous calendaryears?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     Ifyou arefiling a joint case and you have income that you receive together, list it only once under Debtor 1.
     a. No
    ^ Yes.Fillinthedetails.
                                                           Debtor 1                                             Debtor 2

                                                           Sources of income           Gross income             Sources of income              Gross income
                                                           Check all that apply.       (before deductions and   Check all that apply.          (before deductions and
                                                                                       exclusions)                                             exclusions)

          From January 1 of current year until          ^        Wages, commissions,
                                                                 bonuses, tips
                                                                                                         1      Q Wages, commissions,
                                                                                                                    bonuses, tips
          the date you filed for bankruptcy:
                                                            Q Operatinga business             v                     Operating a business


                                                            Q Wages,commissions,                  .s            Q Wages,commissions,
          For last calendar year:
                                                                 bonuses, tips                         ^            bonuses, tips
          (January1 toDecember31 , f^\~}               ) D Operatinga business                                  Q Operating a business


          For the calendar year before that:                Q Wages,commissions,          ^__            _      Q Wages,commissions,
                                                                 bonuses, tips         " .S-S/T |/_)                bonuses, tips
          (January 1 to December 31,
                                       WYY
                                                 ^      ) Q Operatinga business         --                      1-1 Operatinga business


  5. Did you receive anyother income during this yearor the two previous calendaryears?
     Includeincome regardlessofwhetherthat income is taxable. Examplesofother incomearealimony; child support; Social Security,
     unemployment, and other publicbenefitpayments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. Ifyou are filing a joint case and you have incomethat you received together, list it only once under Debtor 1.
     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

         No
         Yes. Fill in the details.

                                                           Debtor 1                                              Debtor 2

                                                           Sources of income           Gross income from         Sources of income             Gross income from
                                                           Describe below.             each source               Describe below.               each source
                                                                                       (before deductions and                                  (before deductions and
                                                                                       exclusions)                                             exclusions)



          From January 1 of current year until
                                                          \^^^
                                                           ''."I
                                                                                               .A
          the date you filed for bankruptcy:




          For last calendar year:
                                                          m"-^                         $ z crQ                                             $

                                      iACb
          (January 1 to December 31{VIJI
                                       YYYY"
                                             \}                                                                                            $

                                                                                                                                           $



          For the calendar year before that:              z}>^m                                 ino                                        $

          (January 1 to December 31                                                                                                        $
                                        YYYY




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 2
          Case 2:18-bk-11751-EPB                          Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                            Desc
                                                          Main Document    Page 35 of 45
Debtor1        KlVj^fe- ^k\U^Ut^                            \^ \1 1                                  Casenumberwkno»n)0^f. 18-^C-\ \ "iSI~~^jP R
              Fret Name         MiddrsName"




  Part 3:    List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     Q No. Neither Debtor 1 nor Debtor2 has primarily consumer debts. Consumer afebtearedefined in 11 U.S.C. § 101(8)as
              "incurred by an individual primarily for a personal, family, or household purpose."
              During the 90 days beforeyou filed for bankruptcy, did you payany creditora total of $6,425* or more?

              1-1 No. Go to line 7.

              Q Yes. Listbeloweachcreditortowhomyou paida total of$6,425*ormore inoneor more payments andthe
                      total amountyou paid that creditor. Do not include payments for domesticsupport obligations, such as
                      child support and alimony. Also, do not include payments to an attorneyfor this bankruptcy case.
              * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     Q Yes.Debtor1 or Debtor2 or bothhaveprimarilyconsumerdebts.
              During the 90 days beforeyou filed for bankruptcy, did you pay any creditor a total of $600or more?

              Q No. Goto line 7.
              1-1 Yes. Listbeloweachcreditorto whomyoupaida totalof$600ormoreandthetotalamountyoupaidthat
                           creditor. Do not include payments for domesticsupport obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcycase.

                                                                         Dates of     Total amount paid      Amount you still owe   Was this payment for...
                                                                         payment

                             ^^u^V}^^t-                                 Ws            $^Mo                  $5rT to                 Q Mortgage
                             's Name

                                                                                                                                    ^Car
                    (^ i^i. (tea-C
                    Number Street                                                                                                   Q Creditcard
                                                                                                                                    Q Loan repayment
                                                                                                                                        Suppliers or vendors
                    J^p^
                    City . .
                                              ^ ^bfo
                                              State .ZIPCode                                                                        Q Other


                                                                                                                                    Q Mortgage
                    Creditor's Name
                                                                                                                                    a Car
                    Number     Street                                                                                               Q Creditcard
                                                                                                                                    Q Loanrepayment
                                                                                                                                       Suppliers or vendors

                    City                      State           ZIPCode
                                                                                                                                    Q Other



                                                                                                                                    Q Mortgage
                    Creditor's Name
                                                                                                                                    a Car
                    Number     Street                                                                                               Q Creditcard
                                                                                                                                    Q Loanrepayment
                                                                                                                                    Q Suppliersorvendors
                    City                      Slate          ZIP Code
                                                                                                                                    1-1 Other




Official Form 107                                     Statement of FinancialAffairsfor IndividualsFilingfor Bankruptcy                          page 3
          Case 2:18-bk-11751-EPB                               Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                           Desc
                                                               Main Document    Page 36 of 45
Debtor 1                                                                                      Case number (itknown)




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insidersincludeyour relatives; anygeneral partners; relatives ofanygeneral partners; partnerships ofwhichyou are a general partner;
     corporationsofwhichyou are an officer, director, person in control, or ownerof20% or more oftheirvoting securities;and any managing
     agent, including one for a businessyou operate as a sole proprietor. 11 U. S.C. §101. Includepayments for domesticsupportobligations,
     such as child support and alimony.

    ^0
     1-1 Yes. Listall payments to an insider.
                                                                 Dates of      Total amount     Amount you still      Reasonfor this payment
                                                                 payment       paid             owe



           Insider's Name




           Number     Street




           City                           State   ZIPCode




           Insider's Name



           Number     Street




           City                        State      ZIPCode


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debtthat benefited
     an insider?
     Includepayments on debtsguaranteedor cosigned by an insider.


     Q Yes. Listall payments that benefited an insider.
                                                                Dates of       Total amount     Amount you still Reasonfor this payment
                                                                payment        paid             owe                   Includecreditor name
                                                                              $         $
           Insider's Name




           Number    Street




           City                        State      ZIPCode




           Insider's Name




           Number    Street




           City                        State      ZIPCode



Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 4
           Case 2:18-bk-11751-EPB                     Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                        Desc
                                                      Main Document    Page 37 of 45
Debton         K
               Flist'Name"
                              1?-,, SM^ 1... ^ ^^Ak
                                      Mkidle'Name   -        Last Name
                                                                                                                                      F/ \ D "If AC/"




   Part 4:    Identify Legal Actions, Repossessions, and Foreclosures

  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     Listall such matters, includingpersonal injurycases, small claimsactions,divorces, collection suits, paternityactions,supportor custodymodifications,
     and contract disputes.
    ^No
     Q Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                   Status of the case


          Case title                                                                                   Court Name
                                                                                                                                                           Q Pending
                                                                                                                                                           Q Onappeal
                                                                                                       Number   Street                                     Q Concluded
          Case number
                                                                                                       City                   State   ZIPCode



          Case title                                                                                   Court Name                                          Q Pending
                                                                                                                                                           Q Onappeal
                                                                                                       Number   Street                                     1-1 Concluded
          Case number
                                                                                                                              Slate   ZIP Code



  10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     a No. Goto line 11.
         Yes. Fill in the information below.

                                                                             Describethe property                                      Date             Value of the property

                                                                            ^\
               Creditor's Name
                                         \t . fltSfo4C&-                     "j^ULhJ^ ^U^^                                               Qp^s ^(^
                       ^L_
               Number        Street                                .         Explain what happened

                                                                                  Property was repossessed.
                                                                             Q Property wasforeclosed.
                                                    ~^. )(33l^^ Q Propertywasgarnished.
               City                                 State ZIPCode            Q Property was attached, seized, or levied.
                                                                             Describe the property                                     Date              Value of the property




              Creditor's Name


              Number         Street
                                                                             Explain what happened

                                                                             Q    Property was repossessed.
                                                                             Q    Property wasforeclosed.
                                                                             Q    Property was garnished.
              City                                  State ZIPCode
                                                                             Q    Property was attached, seized, or levied.


Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
          Case 2:18-bk-11751-EPB                                  Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                          Desc
                                                                  Main Document    Page 38 of 45
Debtorl            ^ )ACL- , bW^A
                     lame        MlddITName '
                                                                \H ^ L
                                                           LastNaifie   '   "
                                                                                                                             , o^^te^Vn6H
                                                                                                           Case number wknown}




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?'
          No
          Ni
     a Yes. Fill in thedetails.
                                                                   Describe the action the creditor took                         Date action      Amount
                                                                                                                                 was taken
          Creditor's Name



          Number    Street




          City                           Stale ZIPCode             Last 4 digits of account number: XXXX-_


  12. Within 1 year before you filed for bankruptcy, wasanyof your property in the possession of an assigneefor the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     a No
     a Yes

  Part 5:        List Certain Gifts and Contributions


  13. With'      years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
          No
     a Yes. Fill in the details for each gift.

            Gifts with a total value of more than $600            Describethe gifts                                              Dates you gave     Value
            per person                                                                                                           the gifts



          Person to Whom You Gave the Gift




          Number    Street




          City                           State   ZIPCode

          Person's relationship to you


          Gifts with a total value of more than $600              Describe the gifts                                             Dates you gave    Value
          per person                                                                                                             the gifts



          Person to Whom You Gave the Gift




          Number    Street




         City                            State ZIPCode

          Person's relationship to you


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page?
           Case 2:18-bk-11751-EPB                               Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                    Desc
                                                                Main Document    Page 39 of 45
Debton              VI^(RL S^^r^ ^^ \u^M
                         ie            MMdle'Name             Last Name
                                                                                                                                      , ^(^-r)^in^l-£¥?l3
                                                                                                                  Case number i/tkncwn}




  14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
     Q Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                      Describe what you contributed                                        Date you          Value
            that total more than $600                                                                                                     contributed




         Charity's Name




         Number       Street




         City           State           ZIP Code




  Part 6:           List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything becauseof theft, fire, other
     disaster, or gambling?

   ^     No
   a Yes. Fill in thedetails.

            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/B: Property.




  Part 7:          List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Includeanyattorneys, bankruptcypetition preparers, or credit counseling agenciesfor services required in your bankruptcy.
        'No
    'Q Yes. Fill in thedetails.
                                                                     Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made



            Number     Street




            City                          Slate     ZIPCode


            Email or website address


            PersonWhoMadethe Payment, if Not You


Official Form 107                                     Statement of FinancialAffairsfor IndividualsFilingfor Bankruptcy                                              page?
            Case 2:18-bk-11751-EPB                                 Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                          Desc
                                                                   Main Document    Page 40 of 45
Debton            M^^-.. .^^^-. V^^M&
                  FiretNSme       Middle Name'              Last Name
                                                                                                               Casenumber^^\           \fi -ti^ H6l " \^P >

                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment


           PersonWhoWas Paid


           Number       Street




           City                       State      ZIPCode



           Email or website address



           Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
     Do i>ot include any payment or transfer that you listed on line 16.

       No
     a Yes. Fill in the details.
                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was
                                                                                                                                     made
           Person WhoWas Paid


           Number       Street




           City                        State     ZIP Code


  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Dq/iot include gifts and transfers that you have already listed on this statement.
        No
     l-l Yes. Fill in the details.
                                                                   Description and value of property          Describe any property or payments received      Date transfer
                                                                   transferred                                or debts paid in exchange                       was made

          Person Who Received Transfer



          Number       Street




          City                        Slate      ZIPCode


          Person's relationship to you


          Person Who Received Transfer



          Number       Street




          City                        State      ZIPCode

          Person's relationship to you

Official Form 107                                  Statement of FinancialAffairsfor IndividualsFilingfor Bankruptcy                                             page8
          Case 2:18-bk-11751-EPB                                 Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                           Desc
                                                                 Main Document    Page 41 of 45
                  ^CJ
                 First Name
                                  -^U(^-
                                 Mkidle Name
                                                           ^\VJLIUA&                                   Casenumberwkno»n)C^i |ft' N^'l



  19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

         No
     a Yes. Fill in thedetails.

                                                            Description and value of the property transferred                                          Date transfer
                                                                                                                                                       was made



         Name of trust




  Part 8: Us* Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
  20. Within 1 year before you filed for bankruptcy, were anyfinancialaccounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     a No
     Q Yes. Fill in the details.
                                                            Last 4 digits of account number      Type of account or          Date account was       Last balance before
                                                                                                 instrument                  closed, sold, moved,   closing or transfer
                                                                                                                             ortransferred f
                     O^Ji^
           fame of financial Institution
                                                            XXXX-^QS_'^t_                       ^Checking                    m^                     $®Vn
          Number Street                                                                          Q Savings
                                                                                                     Money market

                                                                                                 Q Brokerage
          CKy                        State     ZIP Code                                          Q Other

                                                            xxxx-            _ _ _               Q Checking
          Name of Financial Institution
                                                                                                 1-1Savings
          Number Street                                                                             Money market

                                                                                                 Q Brokerage
                                                                                                 Q Other
          City                       State     ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     a No
     a Yes. Fill in the details.
                                                            Who else had access to it?                        Describe the contents                        Do you still
                                                                                                                                                           have it?

                                                                                                                                                           a No
          Name of Financial Institution                    Name
                                                                                                                                                           a Yes

          Number      Street                               Number   Street



                                                           City       State      ZIPCode
          City                       State     ZIPCode


Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 9
          Case 2:18-bk-11751-EPB                          Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                           Desc
                                                          Main Document    Page 42 of 45
 Debtor 1                                                                                                      Case number [Sknawn)




 22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    ^TNO
      a Yes. Fill in the details.
                                                                Who else has or had access to it?                   Describe the contents         Do you still
                                                                                                                                                  have it?

                                                                                                                                                   a No
              Name of Storage Facility                          Name                                                                               a Yes

              Number       Street                               Number     Street



                                                                CityState ZIPCode

              City                        State    ZIPCode


  Part 9:            Identify Property You Hold or Control for Someone Else
  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      orjhold in trust for someone.
            "No
      a Yes. Fill in the details.
                                                               Where is the property?                               Describe the property     Value


              Owner's Name


                                                              Number     Street
              Number       Street




                                                              City                         State    ZIP Code
              City                        State    ZIPCode

  Part 10:           Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardousor toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.

      Srte means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedingsthat you know about, regardless ofwhen they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      S^No
      a Yes. Fill in the details.
                                                              Governmental unit                         Environmental law, if you know it    Date of notice



            Name of site                                     Governmental unit


            Number     Street                                 Number     Street



                                                             City                   State ZIPCode


            City                         State    ZIPCode



Official Form 107                                    Statement of FinancialAffairsfor IndividualsFilingfor Bankruptcy                           page 10
             Case 2:18-bk-11751-EPB                           Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                               Desc
                                                              Main Document    Page 43 of 45
Debtor 1           MlC£^ ^S^iN^ W^Jil^A^                                                             CasenumberT ^\9y\^-\                      \~} \ ^QP^

  25. Have you notified any governmental unit of any release of hazardous material?

      OfNo
 ^/tl Yes.Fillinthedetails.
                                                     Governmental unit                           Environmental law, if you know it                   Date of notice




            Nameof site                             Governmental unit


            Number Street                           Number Street



                                                    City                State    ZIP Code

            City                 State   ZIPCode


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
     J^No
     a Yes. Fill in the details.
                                                                                                                                                      Status of the
                                                      Court or agency                                 Nature of the case
                                                                                                                                                      case


           Case title
                                                      Court Name
                                                                                                                                                      Q Pending
                                                                                                                                                      Q Onappeal
                                                      Number Street                                                                                   Q Concluded

           Case number
                                                      City                      State ZIP Code


  Part 11:         Give Details About Your Business or Connections to Any Business
  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           Q A soleproprietororself-employed in a trade, profession,orotheractivity,eitherfull-timeorpart-time
           Q A memberofa limitedliabilitycompany(LLC)or limited liabilitypartnership(LLP)
           Q A partner in a partnership
           Q An officer, director, or managing executive of a corporation
           Q Anownerofat least5%ofthevotingorequitysecuritiesofa corporation
            lo. None of the above applies. Go to Part 12.
           Yes. Checkall that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                           Employer Identification number
                                                                                                                    Do not include Social Security number or ITIN.
            Business Name


                                                                                                                    EIN: _ _ -_
            Number Street
                                                      Name of accountant or bookkeeper                              Dates business existed



                                                                                                                    From     _          To
            City                 State   ZIPCode
                                                      Describe the nature of the business                           Employer Identification number

            Business Name
                                                                                                                    Do not include Social Securitynumberor ITIN.

                                                                                                                    EIN: __-______.
            Number      Street
                                                     Name of accountant or bookkeeper                               Dates business existed


                                                                                                                    From               To
            CKy                  State   ZIPCode

Official Form 107                          Statement of FinancialAffairsfor Individuals Filingfor Bankruptcy                                            page 11
            Case 2:18-bk-11751-EPB                  Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                               Desc
                                                    Main Document    Page 44 of 45
Debtor 1                                                                                            Case number wknown)
                   First Name     Middle Name




                                                            Describe the nature of the business
                                                                                                                  Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
            Business Name
                                                                                                                  EIN: _ _ -_ _ _ _
            Number Street
                                                            Name of accountant or bookkeeper                      Dates business existed




                                                                                                                  From                To
            City                       State    ZIPCode




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

    JZNo
           Yes. Fill in the details below.

                                                            Date issued




            Name                                            MM/DD/YYYY


            Number       Street




            City                      State     ZIPCode




  Part 12:         Sign Below

      I have readthe answers on this Statementof FinancialAffairsand anyattachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy casecan result in fines up to $250,000, or imprisonmentfor up to 20 years, or both.
      18U. S.C. §§152 1341, 1519, a 3571.




           Signature of Debtor 1                                            Signature of Debtor 2


           Date      j^w
                       /UII I 10^1 &                                        Date

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   /d No
      a Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
     J^No
      Q Yes. Nameofperson                                                                                 Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                           Declaration, and Signature (Official Form 119).




Official Form 107                                Statement of FinancialAffairsfor IndividualsFiling for Bankruptcy                                   page 12
            Case 2:18-bk-11751-EPB                        Doc 21 Filed 10/12/18 Entered 10/15/18 11:22:23                                       Desc
                                                          Main Document    Page 45 of 45
